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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA

 

 

ROME DIVISION
PAMELA HANKINS, )
AS EXECUTOR OF THE ESTATE )
OF BETTY SCHEIVELHUD AND )
PAMELA HANK_INS, )
INDIVIDUALLY, )
)
Plaintiffs, )
)
vS. ) CIVIL ACTION
)
NATIONAL HEALTHCARE ) FILE NO.
CENTER OF FORT OGLETHORPE,)
L.P., NATIONAL HEALTHCARE )
CORPORATION (DELAWARE), )
NHC/OP, L.P., AND )
NHC/DELAWARE, INC., )
)
Defendants. )
)
COMPLAINT

COME NOW, Plaintiffs, Pamela Hankins, as Executor of the Estate of Betty
Scheivelhud, and Pamela Hankins, Individually, by and through the undersigned
counsel, and file this Colnplaint against thei"lf)efendants, Showing the Court as

follows:

 

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PARTIES, JURISDICTION AND VENUE
l.

Plaintiff, Pamela Hankins, as Executor of the Estate of Betty Scheivelhud, and
Individually, is a resident and citizen of the State of Georgia as she resides at 12
West BroW Drive, Ringgoid, Catoosa County, Georgia 30736, which is Within the
jurisdiction and venue of the Rome Division of the Northern District of Georgia.
Venue is proper in this case pursuant to L.R. 3.1(B)(2), ND Ga. As Executor of the
Bstate of Betty Scheivelhud, and as a surviving daughter of Betty Scheivelhud,
Pamela Hankins is entitled to recover damages for the full value of the life of the
decedent, medical and funeral expenses, damages for the pain and suffering of the
decedent, and punitive damages

2.

As Will be set forth in full beloW, all Defendants are foreign entities Which are
formed, organized and existing under laws other than the State of Georgia;
furthermore, upon information and belief, all partners and limited partners of
Defendants National Healthcare Center of Fort lOglethorpe, L.P. and NHC/OP, L.P.
are citizens and residents of statutes other than _Georgia. Thus, there is complete
diversity of citizenship between the Piaintiffs and each of the Defendants. The
amount in controversy in this matter exceeds Seventy~Five Thousand and no/ 100

($75,000.00) Doiiars, exclusive of interest of costs. This Court has original
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jurisdiction of this action pursuant to 28 USC § i332(a)(l). In accordance With L.R.
3.3, ND Ga., Plaintiffs attach and incorporate by reference a Certificate of Interested
Persons as Exhihit “A.”

3.

As Will be set forth belovv, Plaintiffs’ decedent, Betty Scheivelhud, Was a
long-term resident of NHC Healthcare~Fort Oglethorpe, a nursing home located at
2403 Battlefield Parkway, Fort Oglethorpe, Catoosa County, Georgia 30742.

4.

As Will be further set forth below, Ms. Scheivelhud sustained injuries due to
the negligence of employees of Defendants, and sustained medical bills and
expenses, and ultimately died.

5.

Defendant National Healthcare Center of Fort Oglethorpe, L.P., is a foreign
limited partnership, With its principal office address at P. O. Box 1398,
Murfreesboro, Tennessee 37133~1398.

6.

Defendant National Healthcare Center of Fort Oglethorpe, L.P. may be served

through its registered agent, National Registered Agents, Inc. at lZOl Peachtree

Street, N.E., Suite 1240, Atlanta, Fulton County, Georgia 30361.

 

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7.

At all times material and relevant hereto, Defendant National Healthcare
Center of Fort Oglethorpe, L.P. owned, operated and/or managed NHC Healthcare~
Fort Oglethorpe, (hereinafter “Fort Oglethorpe’i), a nursing facility located at 2403
Battlefield Parkway, Fort Oglethorpe, Catoosa County, Georgia 30742.

8.

Defendant National Healthcare Center of Fort Ogiethorpe, L.P. has been

properly served With the Summons and Complaint in this action.
9.

At all times material hereto, Defendant National Healthcare Center of Fort
Oglethorpe, L.P. had the right to control the time, manner and method of duties
performed by the nurses, nurses’ aides, administrators and other staff at Fort
Oglethorpe, and had the right to discharge the nurses, nurses’ aides, and
administrators at said facility.

10.

Furthermore, at all times material hereto, the nurses, nurses’ aides,
administrators and other staff at Fort Oglethorpe Were agents and employees of
Defendant National Healthcare Center of Fort.Oglethorpe, L.P., and vvere acting

Within the course and scope of their agency and employment relationship

 

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ll.

Accordingly, Defendant National Healthcare Center of Fort Oglethorpe, L.P.
is liable for the negligent acts and/or omissions of the nurses, nurses’ aides,
administrators, agents and employees of Defendant National Healthcare Center of
Fort Oglethorpe, L.P., pursuant to the doctrine of respondeat superior.

12.

Defendant National Healthcare Corporation (Delavvare) is a foreign profit
corporation With its principal office address at P. O. Box 1398, l\/Iurfreesboro,
Tennessee 37133-1398.

l3.

Defendant National Healthcare Corporation (Delavvare) may be served
through its registered agent, National Registered Agents, lnc., at 1201 Peachtree
Street, N.E., Atlanta, Fulton County, Georgia 30361.

14.

At all times material and relevant hereto, Defendant National Healthcare
Corporation (Delavvare) owned, operated and/or managed Fort Oglethorpe, a nursing
faciiity located at 2403 Battlefield Pari<Way, Fort Oglethorpe, Catoosa County,

Georgia 30742.

 

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15.

Defendant National Healthcare Corporation (Delaware) has been properly

served with the Summons and Coinplaint in this action.
16.

At all times material hereto, Defendant National Healthcare Corporation
(Delaware) had the right to control the time, manner and method of duties performed
by the nurses, nurses’ aides, administrators and other staff at Fort Oglethorpe, and
had the right to discharge the nurses, nurses’ aides, and administrators at said facility.

l7.

Furthermore, at all times material hereto, the nurses, nurses’ aides,
administrators and other staff at Fort Oglethorpe were agents and employees of
Defendant National Healthcare Corporation (Delaware), and were acting within the
course and scope of their agency and employment relationship

18.

Accordingly, Defendant National Healthcare Corporation (Delaware) is liable
for the negligent acts and/or omissions of the nurses, nurses’ aides, administrators,
agents and employees of Defendant National Healthcare Center of Fort Oglethorpe,

L.P., pursuant to the doctrine of respondeat superior.

 

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19.

Defendant NHC/OP, L.P. is a foreign limited partnership with its principal
office address at l00 E. Vine Street, Suite 140,0, Murfreesboro, Tennessee 37130-
3773.

20.

Defendant NHC/OP, L.P. may be served through its registered agent, National
Registered Agents, lnc. at 1201 Peachtree Street, N.E., Suite 1240, Atlanta, Fulton
County, Georgia 30361.

21.

At all times material and relevant hereto, Defendant NHC/OP, L.P. owned,
operated and/or managed Fort Oglethorpe, a nursing facility located at 2403
Battlefield Parkway, Fort Oglethorpe, Catoosa County, Georgia 30742.

22.

Defendant NHC/OP, L.P. has been properly served with the Summons and
Complaint in this action.

23.

At ali times material hereto, Defendant NHC/OP, L.P. had the right to control
the time, manor and method of duties performed by the nurses, nurses’ aides,
administrators and other staff at Fort Oglethorpe, and had the right to discharge the

nurses, nurses’ aides, and administrators at said facility.

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24.

Furthermore, at all times material hereto, the nurses, nurses’ aides,
administrators and other staff at Fort Oglethorpe were agents and employees of
Defendant NHC/OP, L.P., and were acting within the course and scope of their
agency and employment relationship

25.

Accordingly, Defendant NHC/OP, L.P. is liable for the negligent acts and/ or
omissions of the nurses, nurses’ aides, administrators, agents and employees of
Defendant NHC/OP, L.P., pursuant to the doctrine of respondeat superior-z

26.

Defendant NHC/Delaware, Inc. is a foreign profit corporation, with its

principal office address at l00 E. Vine Street, l\/lurfreesboro, Tennessee 37130.
27.

Defendant NHC/Deiaware, lnc. may be served through its registered agent,
National Registered Agents, Inc. at l201 Peachtree Street, N.E., Suite 1240, Atlanta
Fulton County, Georgia 30361.

28.

At all times material and relevant hereto, Defendant NHC/Delaware, Inc.

owned, operated and/or managed Fort Oglethorpe, a nursing facility located at 2403

Battlefteld Parkway, Fort Oglethorpe, Catoosa County, Georgia 30742.
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29.

Defendant NHC/Delaware, Inc. has been properly served with the Summons
and Complaint in this action.

30.

At all times material hereto, Defendant l\lHC/Delaware, lnc. had the right to
control the time, manner and method of duties performed by the nurses, nurses’
aides, administrators and other staff at Fort Oglethorpe, and had the right to
discharge the nurses, nurses’ aides, and administrators at said facility.

3 l.

Furthermore, at all times material hereto, the nurses, nurses’ aides,
administrators and other staff at Fort Oglethorpe were agents and employees of
Defendant NHC/Delaware, lnc., and were acting within the course and scope of their
agency and employment relationship

32.

Accordingly, Defendant NHC/Delaware, lnc. is liable for the negligent acts

and/or omissions of the nurses, nurses’ aides, administrators, agents and employees

of Defendant NHC/Delaware, Inc., pursuant to the doctrine of respondeat superior.

 

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33.

Defendants National Healthcare Center of Fort Oglethorpe, L.P., National
Healthcare Corporation (Delaware), NHC/OP, L.P., and NHC/Delaware, Inc. will
hereinafter be referred to as the “Fort Oglethorpe Defendants.”

34.
All Defendants are jointly and severally liable to Plaintiffs.
35.

Plaintiffs attach hereto the Affldavit of Debi Luther, R.N., marked as Exhibit

“B” in compliance with O.C.G.A. § 9-11»9.1.
E1LC..T;S.
36.

Plaintiffs incorporate herein paragraphs l through 3 5 above as though set forth

fully verbatim l
37.

Betty Scheivelhud was admitted to Fort Oglethorpe in November of 2008
from Parl<ridge Medical Center. lt was noted upon admission as the primary
diagnosis that Mrs. Scheivelhud had end-stage Alzheimer’s disease, dementia and

cardiomyopathy, among other things.

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38.

On the diagnostic problem list contained within the Fort Oglethorpe records,

it notes abnormality of gait as of February 10, 2014.
39.

The Post Falls Nursing Assessment dated May 31, 2014 indicates that Mrs.
Scheivelhud “was found on the floor during the passing of breakfast trays.” Patient
indicated she was trying to get from bed into wheelchair and it rolled out from under
her.

40.

The Post Falls Nursing Assessment dated .1 une 4, 2014 states that CNA
Martha Gonzalez reported to the nurse patient was found on floor in the bathroom,
with her back against the toilet seat facing between the doorway and the wall in front
of the toilet. Under additional comments, it indicates that resident is care planned
for a sensor alarm to bed, but knows how to turn it off and has been known to remove
the sensor and place in drawers. A search of the room found no sensor alarm. The
Post Falls Nursing Assessment indicates “will replace with another alarm.”

41.
The Post Falls Nursing Assessment dated July 17, 2014 indicates that CNA

went by day room and saw resident sitting on the floor in front of her wheelchair.

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Under the additional comments section, it states “Needs strict supervision when up
in W/C.” n
42.

The July 20, 2014 Care Plan notes that'Mrs. Scheivelhud was an extensive

two-person assist, and needed assistance with toileting.
43.

The Post Falls Nursing Assessment dated luly 20, 2014 states “CNA seen pt
walking with wheelchair. Patient could not walk very well. CNA went running and
meet up with [sic] the preacher. Held patient pts arms and lowered her to the floor.”
Under additional comments, the patient was encouraged to “ask for help.”

44.

The Post Falls Nursing Assessment dated September 16, 2014 indicates
resident was trying to go to the restroom and fell, lt further indicates patient fell in
room ambulating to bathroom, and that bed alarm activated on bed.

45.

The l\/lDS dated September 24, 2014 indicates that Mrs. Scheivelhud was an

extensive two-person assist for transfer and needed assistance for toileting.
46.
The Post Falls Nursing Assessment of December 5, 2014 describes that

resident was in bathroom with CNA exiting commode and CNA was securing brief

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when resident fell against the wall and slid to floor. The CNA indicated she heard a
pop and resident could not move her lower left extremity. Swelling was also noted
above the ankle.

47.

Following the above-described December 5“‘ fall, Mrs. Scheivelhud was
transported to Hutcheson l\/ledical Center where it was noted in the History and
Physical that she had frequent fails at the nursing home. She was diagnosed with a
fracture of her tibia and fibula and returned to the nursing home the following day.

48.

The Pressure Ulcer Tracking Form indicates a pressure ulcer to Mrs.
Scheiveihud’s cocch on February 17, 2015. The would assessment progress note
also indicated she had a Stage 3 coccyx wound with 50% slough to the wound bed,
50% granulation tissue and resident is on hospice care.

49.

The progress note dated December 10, 2014 indicates that the December 5th

fall sustained by Mrs. Scheivelhud resulted in her becoming 100% bed bound.
50.

l\/lrs. Scheivelhud passed away on February 28, 2015.

13

 

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QU_N_U
PRoFEssIoNAL NEGLIGENCE

51.

Plaintiffs incorporate herein Paragraphs 1 through 50 above as though set

forth fully verbatim.

52.

The nurses working at and employed by Fort Oglethorpe deviated from

the standard of care and skill exercised by nurses generally under similar conditions

and like surrounding circumstances when Betty Scheivelhud was a resident at Fort

Oglethorpe, and in particular, in 2014 and 2015. These deviations include, but are

not limited to, the following:

(3)

(b)
(C)

(d)

Failure to implement an individualized care plan for Mrs. Scheivelhud
in light of her falls;

Failure to properly assess l\/lrs. Scheivelhud following each of her falls;
Failure to provide a safe environment free of accident hazards, as
required by law;

Failure to provide adequate supervision and assistance in order to
prevent falls;

Failure to implement a regimented system in order to address Mrs.

Scheivelhud’s numerous falls, including but not limited to, proper

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monitoring, supervision and assistive devices, and an appropriate
toileting plan, and moving Mrs. Scheivelhud closer to the nursing
station where she could be observed;

Failure to properly update Mrs. Scheivelhud’s care plan following her
numerous falis;

Failure to follow the standard of care and/or policy regarding the
number of assistants to be utilized for toileting needs;

F ailure to perform appropriate skin assessments after Mrs.
Scheivelhud’s skin breakdown;

Failure to properly care plan the patient in a timely manner for skin
breakdown, as well as failure to initiate and/or continue appropriate
interventions to prevent skin breakdown;

Failure to provide appropriate assessment and documentation of wound
status;

Failure to implement a proper turning and repositioning program for
Mrs. Scheivelhud; and

lnadequate charting and documentation

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53.

As a direct and proximate result of the violations of the standard of care by
the Fort Oglethorpe Defendants, Betty Scheivelhud suffered excruciating physical
and mental pain and suffering, and ultimately death.

54.

Accordingly, Pamela Hankins, as Executor of the Estate of Betty Scheivelhud,
is entitled to recover medical, funeral and burial expenses, as well as damages for
her mother’s pain and suffering

55.

Pamela Hankins, surviving child of Betty Scheivelhud, is also entitled to

recover for the wrongful death of her mother.
56.
As noted above, Plaintiffs have attached hereto the Affidavit of Debi Luther,
R.N., as Exhibit “B” in compliance with O.C.G.A. § 9-11~9.1.
COUNT ll
OR])INARY NEGLIGENCE
57.
Plaintiffs incorporate herein Paragraphs 1 throuin 56 above as though set

forth iblly verbatim

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58.

The nurses, nurses’ assistants and other employees and personnel working at
Fort Oglethorpe and employees of the Fort Oglethorpe Defendants had a duty to
exercise ordinary and reasonable care in the provision of services to Betty
Scheivelhud.

59.

The Fort Oglethorpe Defendants and their employees failed to exercise
ordinary and reasonable care in their provision of services to Betty Scheivelhud
while she was a resident at Fort Oglethorpe, as set forth below.

60.

The Fort Oglethorpe Defendants’ licensed and non-licensed employees,
including nursing assistants and other employees, failed to exercise ordinary and
reasonable care in the following particulars:

(a) Providing adequate, sufficient and appropriately trained staff at Fort
Oglethorpe;

(b) Providing appropriate and necessary training of all staff at Fort
Oglethorpe;

(c) Providing sufficient numbers of nurses, CNAs and other staff at Fort

Oglethorpe;

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(d) Keeping the premises at Fort Oglethorpe safe for their residents,
including Betty Scheivelhud; and

(e) Providing appropriate equipment and devices in order to keep Betty
Scheivelhud safe at Fort Oglethorpe,

61.

The acts, omissions and ordinary negligence of the Fort Oglethorpe
Defendants’ employees resulted in significant and debilitating injuries, and
ultimately death, to Betty Scheivelhud

62.

Accordingly, Pamela Hankins, as surviving child of Betty Scheivelhud, is

entitled to recover for the wrongful death of her mother.
63.

ln addition, Plaintiff Pamela Hankins, as Executor of the Estate of Betty

Scheivelhud, is entitled to recover for her mother’s funeral, burial and medical

expenses, as well as damages for her pain and suffering

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COUNT III

VIOLATIONS OF THE GEORGIA BILL OF RIGHTS FOR RESIDENTS
()F LONG-TERM CARE FACILITIES

64.

Plaintiffs incorporate herein paragraphs 1 through 63 above as though set forth
fully verbatim.

65.

Defendants National Healthcare Center of Fort Oglethorpe, L.P., Nationai
Healthcare Corporation (Delaware), NHC/OP, L.P., and NHC/Delaware, lnc.,
through their agents, employees, servants, representatives and successors in interest,
have violated Mrs. Scheivelhud’s rights enumerated under O.C.G.A. § 3 1-8- 108 and
the Rules of the Department of Community Health, Nursing Homes, Section ll l-8-
56-.01 et seq.

66.

Plaintiffs bring this action pursuant to the “Bill of Rights for Residents of

Long Term Care Facilities” (O.C.G.A. § 31-8-100, et Seq.).
67.

The Official Code of Georgia §31-8-108 provides that each resident shall

receive care, treatment and services which are adequate and appropriate

Furthermore, it requires that the care, treatment and services be provided with

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reasonable care and skill, in compliance with applicable laws and regulations, and
with respect for the resident’s personal dignity"and privacy.
68.

Defendants National Healthcare Center-lof Fort Oglethorpe, L.P., National
Healthcare Corporation (Delaware), NHC/OP, L.P., and NHC/Delaware, lnc.,
through their employees and agents, failed to comply with these requirements and
provisions of O.C.G.A. § 31-8-108. Said violations on the part of the Defendants
proximately caused injuries to Betty Scheivelhud, including the death of Betty
Scheivelhud, excruciating mental and physical pain and suffering, medical expenses,
and funeral and burial expenses.

69.

Pursuant to O.C.G.A. § 31-8~136, Plaintiffs are entitled to bring an action as
a result of the Fort Oglethorpe Defendants’ violations of the “Bill of Rights for
Residents of Long Term Care Facilities.”

70.

As a proximate result of the Fort Oglethorpe Defendants’ violations of the

“Bill of Rights for Residents of Long Term Care Facilities,” Betty Scheivelhud died.
71.
Plaintiff Pamela Hankins, Individually, is entitled to bring a wrongful death

action for the death of Betty Scheivelhud, and is entitled to recover for the full value

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of the life _of Betty Scheivelhud, as a result of the Fort Oglethorpe Defendants’
violations as set forth herein.
72.

As a proximate result of the violations of the “Bill of Rights of Residents of
Long Term Care Facilities” on the part of the_Fort Oglethorpe Defendants, Betty
Scheivelhud suffered pain and suffering, and incurred medical expenses Also,
Plaintiffs incurred funeral and burial expenses

73.

Accordingly, Plaintiff Pamela Hankins, as Executor of the Estate of Betty
Scheivelhud, is entitled to recover damages for the pain and suffering, medical,
funeral and burial expenses incurred as a result of the Fort Oglethorpe Defendants’
violations, as set forth above.

COUNT IV

NEGLIGENCE PER SE FOR VIOLATIONS
OF STATE AND FEDERAL REGULATIONS

74.
Plaintiffs incorporate Paragraphs 1 through 73 as if fully set our herein

verbatim.

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75.

The nursing home facility known as NHC Healthcare at Fort Oglethorpe
participates in the Medicare and Medicaid programs. Accordingly, the Fort
Oglethorpe Defendants are subject to the rules and regulations concerning nursing
homes participating in the Medicare and Medicaid programs adopted pursuant to the
Omnibus Budget Reconciliation Act of 1987 (the “Act”).

76.

Fl`he Act and accompanying regulations were enacted to protect the rights of
nursing home residents in those homes that receive Medicare and Medicaid funding,
and Betty Scheivelhud was a member of the class the Act and accompanying
regulations were intended to protect. Accordingly, the Fort Oglethorpe Defendants
are guilty of negligence per se in their violations of 42 CFR § 483.10, 42 CFR §
483.l3(c), 42 CFR § 483.15, 42 CFR § 483.20, 42 CFR§ 483.25, 42 CFR § 483.30,
42 CFR §483.40 and 42 CFR § 483.75.

77.

The administrator, nurses, and other employees of Fort Oglethorpe violated
various provisions of the Code of Federal Regulations, and said violations constitute
negligence per se. These violations include, but are not limited to, the following:

(a) 42 CFR § 483.10 and l$(a) which provide that the resident has a right

to live a dignified existence;

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(b)

(C)

(d)

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42 CFR § 483.13(0) which requires that the facility implement
protocols to protect the resident from neglect;

42 CFR § 483.15 which requires that the facility promote care for
residents in a manner and in an environment that maintains or enhances
each resident’s dignity and respect in full recognition of his or her
individuality;

42 CFR § 483.20 which requires a comprehensive assessment be done
promptly after a significant change in the resident’s physical or mental
condition and that a comprehensive care plan be done accordingly;

42 CFR § 483.25 which requires that each resident must receive and the
facility must provide the necessary care and services to attain or
maintain the highest practicable physical, mental, and psychosocial
well~being, in accordance with the comprehensive assessment and plan
of care;

42 CFR § 483.25(a) which requires that a resident’s abilities and
activities of daily living not be diminished unless the circumstances of
an individual’s clinical condition demonstrate that diminution was
unavoidable;

42 CFR § 483.25(h)(2) which requires the facility provide adequate

supervision of residents to prevent accidents;

23

 

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(h) 42 CFR § 483.30 which requires that the facility have sufficient nursing
staff to provide nursing and related services to attain or maintain the
highest practicable physical, mental and psychosocial well-being of
each resident as determined by the resident’s assessments and
individual care plans;

(i) 42 CFR § 483.40(d) which requires the facility to provide or make
available emergency medical care of the residents at any and all times;

(j) 42 CFR § 483.75 which requires that the facility be administered in
such a way as to use its resources effectively and efficiently to maintain
the highest practicable physical, mental and psychosocial well-being of
each resident;

(k) 42 CFR § 483.75 which requires properly trained, qualified and
competent staff; and

(l) 42 CFR § 483.75(b) which requires the facility to operate and provide
services in compliance with law and acceptable professional standards
and principles that apply to professionals providing said services

78.
The nurses, nurses’ aides, administrators and other employees employed by

and working at Fort Oglethorpe violated various Rules and Regulations for Nursing

24

 

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Homes of the Department of Community Health. Said violations constitute
negligence per se. These violations include, but are not limited to, the following:

(a) Section 111-8-56-.04 which requires that nursing care and related
services be carried out in accordance with the facility’s patient care
policies.

(b) Section l 1 1-8-56-. 10 which requires that nursing care shall be provided
to each patient according to his/her needs and in accordance with
his/her patient care plan.

(c) Section 111-8~56-.11 which requires that the nursing home maintain a
complete medical record on each patient

79.

The negligence per se of the Fort Oglethorpe Defendants, as set forth above,
proximately caused Betty Scheivelhud to suffer pain and suffering, as well as
medical expenses and funeral expenses

80.

Plaintiff Pamela Hankins, as Executor of the Estate of Betty Scheivelhud, is

entitled to recover for the pain and suffering of Betty Scheivelhud, as well as

medical, funeral and burial expenses

25

 

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Further, Plaintiff Pamela Hankins is entitled to recover for the wrongful death
of her mother.
COUNT V
FAILURE TO PROVIDE SUFFICIENT AND PROPER STAFFING
82.
Plaintiffs incorporate Paragraphs l through 81 above as though set forth
herein fully verbatim
83.
The F crt Oglethorpe Defendants had a duty to exercise ordinary and
reasonable care in providing sufficient and competent staffing.
84.
Fort Oglethorpe was chronically understaffed, which put patients at the
facility at risk and in danger.
85.
The Fort Oglethorpe Defendants breached their duty to exercise ordinary and
reasonable care in providing sufficient and competent staffing at the facility.
86.
The Fort Oglethorpe Defendants failed to provide sufficient and competent

staffing the facility and caused the facility to be chronically understaffed.
26

 

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87.

The Fort Oglethorpe Defelndants’ acts and omissions caused injuries, and

ultimately death, to Betty Scheivelhud
88.

As a result of the Fort Oglethorpe Defendants’ understaffmg at the facility,
Plaintiff Pamela Hankins is entitled to recover for Betty Scheivelhud’s pain and
suffering, as well as medical, funeral and burial expenses, as Executor of the Estate
of Betty Scheivelhud

89.

Additionally, Plaintiff is entitled to recover for the wrongful death of her
mother.

COUNT VI
PUNITIVE DAMAGES
90.

Plaintiffs incorporate herein the allegations of Paragraphs l through 89 above

as if fully set forth herein verbatim.
91.
The acts and omissions of the Fort Oglethorpe Defendants demonstrate fraud,

intentional misconduct, willful and wanton misconduct, oppression, malice, and a

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conscious indifference to the consequences, including the safety and health of Betty
Scheivelhud
92.

The acts and omissions of the Fort Oglethorpe Defendants were accompanied

by aggravating circumstances inflicted upon Betty Scheivelhud
93.

The Fort Oglethorpe Defendants are liable for punitive damages to Plaintiff

Pamela Hankins, as Executor of her mother’s estate.
94.

Punitive damages should be awarded to Plaintiff Pamela Hankins and against
the Fort Oglethorpe Defendants to punish the Defendants and deter Defendants from
repeated misconduct as described in this Complaint.

WHEREFORE, Plaintiffs pray for the following relief:

(a) That process be issued as to the Defendants;

(b) That Plaintiff, as Executor of the Estate of Betty Scheivelhud, recover

a judgment against Defendants for punitive damages in an amount
sufficient to punish Defendants and deter the Defendants from similar
conduct in the future;

(c) That Plaintiff recover a judgment in excess of Seventy-Five Thousand

and no/ 100 ($75,000.00) Dollars against the Defendants in an amount
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to be shown by the evidence at the trial of this case for the wrongful
death of her mother;

(d) That Plaintiff, as Executor of the Estate, recover a judgment in excess
of Seventy-Five Thousand and no/ 100 ($75,000.00) Dollars against the
Defendants for the pain and suffering, medical and funeral expenses
incurred;

(e) That the Court and Jury grant such other and further relief as they deem
appropriate and warranted by the evidence; and

(f) That Plaintiffs be granted a trial by jury.

PLAINTIFFS HEREBY DEMAND A TRIAL BY JURY

This _€:_ day OrApi~ir, 2016.

Respectfully submitted,

WATKINS, LOURIE, ROLL & CHANCE, PC

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